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1                                                                          Judge Settle
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                                  UNITED STATES DISTRICT COURT
8                                WESTERN DISTRICT OF WASHINGTON
                                           AT TACOMA
9
     THE UNITED STATES of AMERICA,                            )
10                                                            )
                             Plaintiff,                       )          No. CR08-5125BHS
11                                                            )
                     v.                                       )
12                                                            )          ORDER CONTINUING
     EPIFANIO BARRAGAN ESTRADA et al.,                        )          DUE DATE OF THE
13                                                            )          GOVERNMENT’S RESPONSES
                                                              )          TO PRE-TRIAL MOTIONS
14                           Defendants.                      )          OF EPIFANIO BARRAGAN
                                                              )          ESTRADA
15                                                            )
16           THIS MATTER comes before the Court on the motion by the United States of America
17   to continue the due date of its responses to numerous pre-trial motions filed by the defendant
18   EPIFANIO BARRAGAN ESTRADA since October 6, 2008. Having considered the entirety of
19   the record and files herein, the basis for the request for continuance submitted by the
20   government, the Court grants the request.
21   \\
22   \\
23   \\
24   \\
25   \\
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                                                                                             United States Attorney’s Office
                                                                                             700 Stewart Street, Suite 5220
     Order Continuing Government’s Responses to Pre-Trial Motions/                            Seattle, Washington 98101
     United States v. Epifanio Barragan Estrada, CR08-5125BHS - Page 1                               206-553-7970
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1            IT IS NOW, THEREFORE, ORDERED that the government shall file a its responses to

2    defendants’s pre-trial motions by October 22, 2008. The motions are noted for November 3,

3    2008.

4            Dated this 15th day of October, 2008.

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12                                                            BENJAMIN H. SETTLE
                                                              UNITED STATES DISTRICT JUDGE
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     Presented by:
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16
     s/ Ye-Ting Woo
17   YE-TING WOO
     Assistant United States Attorney
18   (206) 553-2268, Fax: (206) 553-4440
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22
     s/ Matthew H. Thomas
     MATTHEW H. THOMAS
23   Assistant United States Attorney
     Washington State Bar #20075
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                                                                                        United States Attorney’s Office
                                                                                        700 Stewart Street, Suite 5220
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     United States v. Epifanio Barragan Estrada, CR08-5125BHS - Page 2                          206-553-7970
